60 F.3d 824NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Oorell SHARRIEFF, Plaintiff--Appellant,v.J.V. BEALE, Assistant Warden;  G.L. Bass;  J.C. Farrow;Wesley A. McCathy;  R.D. Green;  Unknown Jones;J. Halsey-Harris, Defendants--Appellees.
    No. 95-6543.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 22, 1995.Decided July 13, 1995.
    
      Oorell Sharrieff, appellant Pro Se.  Pamela Anne Sargent, Asst. Atty. Gen., Richmond, VA, for appellees.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's* order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the magistrate judge's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the magistrate judge.  Sharrieff v. Beale, No. CA-94-20 (E.D. Va.  Oct. 28, 1994, Dec. 8, 1994, &amp; Mar. 15, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The parties consented to trial by the magistrate judge pursuant to 28 U.S.C. Sec. 636(c)(1) (1988)
      
    
    